       Case 2:20-cv-02679-GGG-KWR Document 41 Filed 07/06/21 Page 1 of 1




                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

   PRINCESS DENNAR                                                              CIVIL ACTION
   VERSUS                                                                       NO:       20-2679
   TULANE EDUCATIONAL FUND                                                      SECTION: “T” (4)
                                                     ORDER
         On June 25, 2021, Plaintiff’s counsel reached out to the Court to discuss discovery issues

surrounding Defendant Tulane’s rolling production and requesting a status conference on the same.

Accordingly,

         IT IS ORDERED that all parties shall attend a status conference via video conference

before the undersigned United States Magistrate Judge at 2:30 p.m. on Thursday, July 8, 2021.

The undersigned’s chamber shall provide further instruction on initiating the video conference call

with the Court via email communications.1



                                                        New Orleans, Louisiana, this 6th day of July 2021.




                                                              KAREN WELLS ROBY
                                                   CHIEF UNITED STATES MAGISTRATE JUDGE




         1
            Persons granted remote access to proceedings are reminded of the general prohibition against
photographing, recording, and rebroadcasting of court proceedings. Violation of these prohibitions may result in
sanctions, including removal of court issued media credentials, restricted entry to future hearings, denial of entry to
future hearings, or any other sanctions deemed necessary by the Court.
